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                                                     58407

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                                                    March 29, 2022

  VIA ECF

  The Honorable Robert B. Kugler
  United States District Court Judge
  District of New Jersey
  Mitchell H. Cohen Building & U.S. Courthouse
  4th & Cooper Streets Room 1050
  Camden, NJ 08101

  Special Master the Honorable Thomas Vanaskie
  Stevens & Lee
  1500 Market Street, East Tower
  18th Floor
  Philadelphia, PA 19103


           Re:        In re Valsartan, Losartan, and Irbesartan Products Liability Litigation
                      Case No. 1:19-md-02875-RBK-JS



  Dear Judge Kugler and Special Master Vanaskie:

           This letter is to provide Defendants’ positions with respect to the topics on the agenda for

  the Case Management Conference with the Court on March 30, 2022. The parties do not expect

  the need to discuss any confidential materials as part of these agenda items.

      1. Outstanding Request for Production of Valsartan Testing Documents from Plaintiffs’
         Expert Ron Najafi

           Dr. Ron Najafi has been disclosed by Plaintiffs as a class expert. He offers the opinion

  generic valsartan-containing medications that contained NDMA or NDEA at any level were not

  the “equivalent of” Novartis’s reference listed drugs, Diovan or Exforge. (ECF No. 1748-3, Najafi

  Rep. ¶ 34.) Dr. Najafi assumed for purposes of his report that the Novartis products did not contain

  NDMA or NDEA at any level above zero. (Najafi Dep. Tr. 139:24–140:7.)
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           During the course of Dr. Najafi’s deposition, Defendants learned Dr. Najafi and his

  laboratory, Emery Pharma, conducted testing in connection with a citizen petition submitted to

  FDA on June 13, 2019, by Valisure LLC. (Najafi Dep. Tr. 141:17-142:2 [stating with “[o]ne

  hundred percent certainty” that Emery validated the testing performed by Valisure in connection

  with the citizen petition].) The Valisure citizen petition reflected testing for NDMA and an

  allegedly carcinogenic solvent, N,N-Dimethylformamide (“DMF”), performed on various

  manufacturers’ valsartan-containing medications, including Novartis product. (See Ex. A, Valisure

  Citizen Petition, at Appendix A.) Dr. Najafi confirmed that his lab “repeated Valisure’s work” by

  testing “the same pills that [Valisure] tested” to confirm Valisure’s results were “in the ballpark”

  of the levels detected by Emery. (Najafi Dep. Tr. 142:3-143:11.) Ultimately, Dr. Najafi was able

  to “corroborate” the nitrosamine data included in the Valisure citizen petition. (Id.)

           The Valisure citizen petition showed detectable levels of NDMA in the majority of

  Novartis product tested, including a level of 17 nanograms in a 40 mg tablet. (Valisure Citizen

  Petition, at Appendix A, attached as Exhibit A.) These data directly contradict the assumption

  underlying Dr. Najafi’s opinion—i.e., that Novartis product did not contain nitrosamine impurities

  at any level above zero. Defendants’ notice of deposition had requested the production of any

  testing data and communications with third parties concerning nitrosamines in valsartan in Dr.

  Najafi’s possession, custody, or control, but no documents were produced in response. (See ECF

  No. 1890, Najafi Not. of Dep.)

           When confronted with the citizen petition at his deposition, Dr. Najafi backtracked from

  his prior, unequivocal testimony that his lab corroborated the nitrosamine levels reflected in the
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  Valisure citizen petition. During re-direct by Plaintiffs’ counsel, Dr. Najafi suggested that, because

  Emery Pharma is not identified in the citizen petition, his lab actually was not involved in any

  testing of product from Valisure. (Najafi Dep. Tr. 223:7-22.)

           In the hope of settling the matter, Defendants followed up by letter on February 16, 2022,

  requesting production of documents reflecting any testing, methods, protocols, and procedures

  performed by Dr. Najafi or his lab on any valsartan-containing medications, as well as

  communications concerning the Valisure citizen petition. (See Defs.’ 2/16/22 Letter, attached as

  Exhibit B.) These data and related documents and communications are plainly relevant to class

  certification. First, the information bears on the two core assumptions underpinning Dr. Najafi’s

  opinions—namely, that (i) all of the Defendants’ generic valsartan contained nitrosamine

  impurities at some level above zero, and (ii) none of the Novartis product contained nitrosamines

  at any level. Even more broadly, testing demonstrating the presence or absence of nitrosamine

  impurities in the Defendants’ valsartan goes to central questions at issue at the Rule 23 stage,

  particularly in light of Plaintiffs’ theory regarding “Lifetime Cumulative Thresholds” and the value

  of Defendants’ medication.

           Plaintiffs submitted a response on February 25, 2022. (See Pls.’ 2/25/22 Letter, attached as

  Exhibit C.) They took the position that Defendants’ request for production of testing data was not

  “supported by the record,” despite Dr. Najafi’s unequivocal testimony that his lab had, in fact,

  conducted testing in support of the Valisure citizen petition. Plaintiffs suggested that further meet

  and confer would be helpful.

           The parties met and conferred by telephone on March 8 and then again on March 11.

  During those discussions, Defendants directed Plaintiffs’ counsel to the portions of Dr. Najafi’s
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  deposition supporting the notion that Emery Pharma had, in fact, tested valsartan-containing

  medications. Recognizing, however, the ambiguity created by subsequent testimony, Defendants

  asked Plaintiffs to confirm one way or the other whether Dr. Najafi or his lab is in possession,

  custody, or control of any testing data or communications concerning the levels of nitrosamine

  impurities, if any, in valsartan API or finished-dose products. Plaintiffs committed to providing a

  response to this foundational question. Having not received any further substantive

  communications from Plaintiffs, Defendants followed up by email on March 22 and again on

  March 25. At that time, Plaintiffs suggested a response would be received by March 28. (See

  3/25/22 Email Chain, attached as Exhibit D.)

           On March 29—the day the parties’ agenda statements are due to be filed in advance of the

  March 30th Case Management Conference—Plaintiffs served their supplemental response. 1

  Plaintiffs now acknowledge that Dr. Najafi did, indeed, conduct testing on valsartan provided by

  Valisure in connection with the citizen petition. Plaintiffs suggest that the samples from Valisure

  were “blinded,” which Defendants interpret to mean Valisure did not reveal the manufacturer of

  the drug to be tested by Emery Pharma. Nonetheless, Plaintiffs surmise that none of the testing

  was performed on product manufactured by Novartis or the Defendants. The basis for this

  conclusion is nothing more than Dr. Najafi’s comparison of the results of testing performed by his

  lab to the data set forth in the Valisure citizen petition. More specifically, because apparently none

  of the levels of NDMA and DMF measured by Dr. Najafi’s lab was an exact match to the levels



  1
   Plaintiffs have marked the letter Highly Confidential so, out of respect of that designation but
  without waiver of any potential challenges to that designation, Defendants will not attach it as an
  exhibit at this time.
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  of NDMA and DMF reflected in the citizen petition, Dr. Najafi “advises” that he does not believe

  his testing was performed on Novartis’s or Defendants’ product.

           Because Defendants did not receive Plaintiffs’ supplemental response until a few hours

  before the filing of this agenda statement and there appears to be an opportunity to continue the

  meet-and-confer process, Defendants do not yet believe the dispute is ripe for resolution by the

  Court. However, Defendants wanted to apprise the Court of the background of the dispute and flag

  the issue should it require the Court’s attention at a later date.

      2. Pending Motion for Clarification

           Defendants have moved for clarification regarding Daubert Hearing Order 1, ECF No.

  1958. (See generally ECF No. 1976, Defs.’ Mot.; ECF No. 1976-1, Defs.’ Br.) Defendants seek

  confirmation that Dr. Lagana and Dr. Hecht will not be permitted to offer the opinion trace levels

  of NDEA potentially detected in Defendants’ valsartan-containing medications can cause any

  particular type of cancer at issue in this litigation. Plaintiffs have not yet responded to the motion.

  Defendants, however, would be pleased to address any questions the Court may have at this time.

      3. Unopposed Request for Extension of Class Certification Briefing Deadlines

           Defendants are seeking a seven-day extension of the deadline by which to submit their

  opposition briefs in response to Plaintiffs’ motions for class certification, which currently falls on

  April 5, 2022. (ECF Nos. 1747, 1748, 1749, 1750). Plaintiffs do not oppose this request as long

  as Plaintiffs also receive an additional week in which to submit their replies in support of class

  certification. (See Email from A. Slater to R. Bernardo, Mar. 23, 2022, attached as Exhibit E).

           Defendants seek this extension because the ZHP Defendants are in the process of changing

  counsel in this litigation. Duane Morris will be withdrawing at the end of the week, and Skadden,
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  Arps, Slate, Meagher & Flom (“Skadden”) will be replacing Duane Morris in the litigation. As

  the Court is aware, the litigation has a lengthy history, and the Skadden attorneys have been

  working hard to get up to speed on the legal and factual issues central to the litigation as swiftly

  as possible. In order for Skadden to provide meaningful legal representation in connection with

  responding to Plaintiffs’ class proposals, however, a brief, seven-day extension of the deadline for

  Defendants to file their responses to Plaintiffs’ motions for class certification is required.

  Accordingly, Defendants ask that the Court grant a seven-day extension of the remaining briefing

  deadlines as to Plaintiffs’ motions for class certification, with Defendants’ oppositions due on

  April 12, 2022, and Plaintiffs’ reply briefs due on May 10, 2022.

      4. Plaintiff Fact Sheet Deficiencies and Orders to Show Cause

  Cases Addressed at the February 28, 2022 Case Management Conference:

           The Court has issued six show cause orders returnable at the March 30, 2022 Case

  Management Conference:

      •    Charlene Mills v. Actavis, et al. – 21-cv-13611
      •    Jimmie Thorn v. Mylan, et al., – 20-cv-20603
      •    Martin Scott v. ZHP, et al., – 21-cv-17216
      •    Tracy Whitfield v. ZHP, et al., – 21-cv-15076
      •    Deborah Harris v. Aurobindo, et al., – 20-cv-19164
      •    Ernestine Williams v. Mylan, et al., – 21-cv-06946

           The issues in the Williams matter are resolved, and the show cause order may be

  withdrawn.

           The issues in the Mills and Thorn matters remain unresolved, but the parties are working

  towards a resolution and request a one-month extension of these orders to show cause until the

  April 27, 2022 Case Management Conference.

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                The issues in Scott, Whitfield, and Harris remain unresolved, and Defendants accordingly

       move for dismissal of these three matters at this time.

       Second Listing Cases – Order to Show Cause Requested:

                Pursuant to CMO-16, the Plaintiff Fact Sheets in the below cases are substantially

       incomplete and contain core deficiencies. Each of these cases were previously listed on the agenda

       for a prior CMC. This list was provided to Plaintiffs’ leadership on March 23, 2022, and a global

       meet and confer was held on March 25, 2022. Defendants have also been available for further

       discussion as needed. Accordingly, Defendants request that an Order to Show Cause be entered in

       each of these cases, returnable at the next case management conference, as to why these cases

       should not be dismissed.

                Defense counsel will be prepared to address the individual issues with respect to each of

       these cases, to the extent necessary, during the March 30, 2022 Case Management Conference:



           Plaintiff          Civil                  Law Firm                    Deficiencies                             Deficiency
                             Action                                                                                       Sent
                              No.
1.    James Larsen v.         21-cv-           Newlands and Clark                Need medical expenses                    12/28/2021
       Actavis, et al.        18313




2.        Estate of           21-cv-               Stark & Stark                 Need usage dates; need                   2/5/2022
      William Byrnes          13325                                              cancer diagnosis information;
      v. Aurobindo, et                                                           need medical expenses;
             al                                                                  authorizations must be made
                                                                                 out to providers listed in
                                                                                 PFS, not a template.
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3.    Deborah Harris           21 -            Arnold & Itkin, LLP               No authorizations,                       01/25/2022
        – Estate of            CV-                                               Incomplete PFS, no NDC
      Donald Harris v.        06395                                              codes or identification that
        Aurobindo                                                                recalled product was
      Pharma, Ltd., et                                                           consumed
             al
4.    Estate of Sloan          21-                 Watts Guerra                  No authorizations for Dr.                02/11/2022
        Mitchell v.            CV-                                               Michael Gainey and Dixie
        Aurobindo             20355                                              Stone PA-C
                                                                                 No Medical expenses
5.       Jeffrey S.           21-cv-        Heninger Garrison Davis              Failure to provide medical               1/20/2022
        Williams v.           16345                  LLC                         expense records and list of
        Aurobindo                                                                healthcare providers
          Pharma
6.    Kelly Donaldson         21-cv-           Newlands and Clark                Failure to provide dates of              12/29/2021
       v. Aurobindo           18272                                              taking Valsartan; failure to
          Pharma                                                                 list dates she was treated by
                                                                                 doctors
7.     Eric Thompson          21-cv-            Levin Papantonio                 No PFS Filed.                            1/12/22
                              19973

8.    John McDermott          21-cv-            Levin Papantonio                 No PFS Filed.                            2/9/22
                              20426

9.        Chadwick            21-cv-            Morgan & Morgan                  No PFS Filed.                            2/21/22
           Wilson             20624



       First Listing Cases – Remaining Core Deficiencies:

                The following Plaintiff Fact Sheets contain core deficiencies which remain unresolved.

       This list was provided to Plaintiff leadership on March 23, 2022 and a global meet and confer was

       held on March 25, 2022. Defendants have also been available for further discussion as needed.

       This is the first time these cases have been listed on an agenda. Accordingly, Defendants are not

       requesting orders to show cause with respect to any of the below cases at this time and will continue

       to meet and confer to resolve these deficiencies.
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           Plaintiff           Civil                 Law Firm                    Deficiencies                             Deficiency
                              Action                                                                                      Sent
                               No.
1.    Michael Keicher         21-cv-                 Honik LLC                   Need medical expenses;                   2/18/22
       v. Aurobindo           20760                                              Teva is not an API
      Pharma, et. Al.                                                            manufacturer; No medical
                                                                                 records; Provide NDC codes
                                                                                 listed in pharmacy records.
2.    Robert Sanford          21-cv-       Levin Papantonio Rafferty             Need medical expenses;                   3/2/22
       v. Aurobindo           20674                                              amended PFS needs to be
      Pharma Ltd. et                                                             uploaded
             al.
3.    Henry Parker,                              Levin Papantonio                III.G.a-III.G.c – Failed to              2/18/22
       Jr. v. Hetero         21-cv-                                              provide any substantive
      Drugs, Ltd., et        19401                                               responses to identify
              al                                                                 Plaintiff’s claimed medical
                                                                                 expenses, including: the
                                                                                 name of the healthcare
                                                                                 provider for each claimed
                                                                                 medical expense; the date of
                                                                                 service for each claimed
                                                                                 medical expense; and the
                                                                                 monetary amount of each
                                                                                 claimed medical expense.
                                                                                 XI.B.2 – No pharmacy
                                                                                 records were produced for
                                                                                 Liddy’s Health Mart
                                                                                 Pharmacy. Also, no medical
                                                                                 records were produced for
                                                                                 the identified physicians who
                                                                                 prescribed Valsartan to
                                                                                 Plaintiff, being: Ali
                                                                                 Crawford and Phyllis
                                                                                 Wright.
                                                                                 XI.B.18 – No billing records
                                                                                 produced.
4.     Matt Jolissaint        2021 -                 Honik LLC                   Please provide medical                   2/16/22
       v. Mylan, et. al        CV-                                               records
                              19769

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5.    Carl Huston v.          21-cv-                 Honik LLC                   -Failed to attach records                2/22/2022
      Aurobindo               20758                                              demonstrating alleged injury
      Pharma Ltd., et
      al
6.    Jeffery Johnson         21-cv-       Meshbesher & Spence Ltd.              -Failed to provide                       2/23/2022
      v. ZHP, et al.          20353                                              authorizations for Fillmore
                                                                                 County insurance provider
7.    Ulysses Payne           21-cv-        Serious Injury Law Group             -Failed to address numerous              3/8/2022
      v. ZHP et al.           00495                                              deficiencies listed in
                                                                                 Deficiency Notice
8.    Dexter Turner v.        22-cv-            Morgan & Morgan                  No PFS Filed.                            PFS Due -
      ZHP                     00004                                                                                       3/3/22

9.    Nancy                   22-cv-            Oliver Law Group                 No PFS Filed.                            PFS Due -
      Mastbergen v.           00038                                                                                       3/5/22
      Hetero
10. Mario Sherber             22-cv-            Morgan & Morgan                  No PFS Filed.                            PFS Due -
    v. ZHP                    00208                                                                                       3/17/22

11. Robert Brown              21-cv-        Serious Injury Law Group             No PFS Filed.                            PFS Due -
                              13857                                                                                       3/20/22

12. Daniel Given v.           21-cv-        Serious Injury Law Group             No PFS Filed.                            PFS Due -
    Torrent                   20286                                                                                       3/20/22

13. Dinah Brown v.            21-cv-        Serious Injury Law Group             No PFS Filed.                            PFS Due -
    Camber                    14477                                                                                       3/20/22

14. Betty Hall v.             21-cv-        Serious Injury Law Group             No PFS Filed.                            PFS Due -
    Torrent                   20447                                                                                       3/24/22

15. Annie Pace v.             20-cv-        Serious Injury Law Group             No PFS Filed.                            PFS Due -
    Major                     19170                                                                                       3/24/22




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16. Marion Dennis           20-cv-        Serious Injury Law Group             No PFS Filed.                            PFS Due -
    v. Solco                11163                                                                                       3/24/22

17. Elie Greene v.          21-cv-        Serious Injury Law Group             No PFS Filed.                            PFS Due -
    Aurobindo               03214                                                                                       3/24/22

18. Linda Palmer v.         22-cv-             Levin Papantonio                No PFS Filed.                            PFS Due -
    Aurobindo               00429                                                                                       3/28/22

19. Vincent                 22-cv-             Levin Papantonio                No PFS Filed.                            PFS Due -
    Anderson v.             00449                                                                                       3/28/22
    ZHP
20. Kerry Jackson,          22-cv-          Hollis Law Firm, P.A.              No PFS Filed                             PFS Due -
    Individually and        00154                                                                                       3/13/22
    O/B/O E.O
    Janice Jackson
    v. Hetero Drugs,
    Ltd., et al


         5. Withdrawal of Duane Morris

              On March 31, 2022, or very shortly thereafter, the attorneys from Duane Morris LLP who

     are counsel of record for the four ZHP Parties in the MDL and related cases will be moving to

     withdraw their appearances in those matters. The ZHP Parties will be continued to be represented

     in those matters by Skadden, Arps, Slate, Meager & Flom LLP. As after the withdrawal of their

     appearances Seth Goldberg and Jessica Priselac will no longer be serving as Defense Liaison

     Counsel, and Seth Goldberg also will no longer be a member of the Defendants’ Executive

     Committee, Defendants consent to the Court’s appointment of Jessica Miller of the Skadden firm

     to serve in those roles.




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                                                                   Respectfully submitted,

                                                                   /s/ Lori G. Cohen

                                                                   Lori G. Cohen


  cc:      Adam Slater, Esq. (via email, for distribution to Plaintiffs’ Counsel)
           Jessica Priselac, Esq. (via email, for distribution to Defendants’ Counsel)
           Seth A. Goldberg, Esq. (via email)
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